 Case 3:22-cv-00983-SRU Document 13 Filed 08/10/22 Page 1 of 3




                          UNITED STATES DISTRICT COURT
                            DISTRICT OF CONNECTICUT


JACQUETTA STEWART-PURCELL                : CIVIL ACTION #: 3:22-CV-00983-SRU

      Plaintiff
V.

QKH ENTERPRISES, LLC., ET AL             : AUGUST 10, 2022

      Defendant


     STIPULATION REGARDING REMAND OF MATTER TO SUPERIOR COURT

       Now comes the parties to this action, by and through their respective counsel

and hereby stipulates that this Court may at its convenience issue an order remanding

this matter to the Connecticut Superior Court, Judicial District of Hartford at Hartford,

Docket No.:       HHD-CV-XX-XXXXXXX-S.    Specifically, after discussing this matter the

parties hereby stipulate that the amount in controversy does not exceed the sum or

value of $75,000 (exclusive of interest and costs) and, therefore, this case does not

meet the requirements for diversity jurisdiction pursuant to 28 U.S.C. § 1332(a).

       The undersigned further represents that he has been authorized by Svetlana

Steele-Baird, Esquire, Howd & Ludorf, 65 Wethersfield Avenue, Hartford, CT 06114-

1121, counsel for the Defendant to make representations herein and to file this

Stipulation.

       WHEREFORE, the parties respectfully request that this Court approve this

Stipulation and enter an order remanding this matter to the Superior Court, Judicial

District of Hartford at Hartford with Docket No.: HHD-CV-XX-XXXXXXX-S.
Case 3:22-cv-00983-SRU Document 13 Filed 08/10/22 Page 2 of 3




                                        THE PL



                                       By:
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                                   2
  Case 3:22-cv-00983-SRU Document 13 Filed 08/10/22 Page 3 of 3




                                      CERTIFICATION

       I hereby certify that on August 10th, 2022, a copy of foregoing was filed

electronically on opposing counsel. Notice of this filing will be sent by e-mail to all

parties by operation of the Court's electronic filing system and by mail to those indicated

on the Notice of Electronic filing.

Svetlana Steele-Baird, Esquire
Howd & Ludorf
65 Wethersfield Avenue
Hartford, CT 06114-1121
Via Email: SsteeleBaird@hl-law.com




                                                   MatthA E. Dodd
                                                   Commiss ner of the Superior Court




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